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11
                         UNITED STATES DISTRICT COURT
12
                        CENTRAL DISTRICT OF CALIFORNIA
13
14   META PLATFORMS, INC.,                       Misc. Case No.
15                      Moving Party,            Underlying action in United States
16                                               District Court for the Northern District
           v.                                    of California, No. 3:20-cv-08570-JD
17   SNAP INC.,                                  META PLATFORMS, INC.’S
18                                               NOTICE OF MOTION TO
                        Responding Party.        COMPEL SNAP INC. TO
19                                               PRODUCE DOCUMENTS

20                                               Fact Discovery Cutoff: January 13,
                                                 2023
21                                               Class Certification Expert Discovery
                                                 Cutoff: March 24, 2023
22                                               Merits Expert Discovery Cutoff:
                                                 October 20, 2023
23                                               Pretrial Conference and Trial Date:
                                                 June 27, 2024 & July 15, 2024
24                                               Hearing Date: August 29, 2022

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                                                                      META’S NOTICE OF
                                                                     MOTION TO COMPEL
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 1                                NOTICE OF MOTION
 2         PLEASE TAKE NOTICE that Moving Party Meta Platforms, Inc. (“Meta”)
 3   files this miscellaneous action to compel Responding Party Snap Inc.’s (“Snap”)
 4   compliance with Meta’s Non-Party Subpoena served on February 24, 2022
 5   (“Subpoena”). The Subpoena is part of ongoing discovery in a pending action filed
 6   by putative classes and Maximillian Klein, Sarah Grabert, Deborah Dames,
 7   Timothy Mathews, Vickie Sherman, Lezah Neville-Marrs, Jarred Johnson,
 8   Katherine Loopers, Rachel B. Kupcho, Jessica L. Layser, Charles Steinberg, Shari
 9   Rosenman, Affilious, Inc., Jessyca Frederick, NJ Premier Inc., Timothy Mills,
10   Mark Young, Danny Collins, Joshua Jeon, 406 Property Services, PLLC, Mark
11   Berney, MarQuisha Cork, Rita Garvin, Joe Kovacevich, Mark K. Wasvary, P.C.,
12   Melissa Ryan, Zahara Mossman, Sally Loveland, Sharon Cheatle, Janine Cortese,
13   Tyler Boyle, and Steve McCann against Meta in the U.S. District Court for the
14   Northern District of California. See Klein v. Meta Platforms, Inc., No. 3:20-cv-
15   08570-JD (N.D. Cal.) (“Klein”). In Klein, Facebook, Inc. was originally named as
16   a defendant, but on February 1, 2022, following Facebook, Inc.’s name change to
17   Meta, the Court ordered that the case caption be modified to reflect the name
18   change.
19         Meta respectfully requests that the Court direct Snap to produce documents
20   responsive to Meta’s Subpoena under the protection of the Protective Order entered
21   in the Klein case.
22         Meta’s Motion To Compel Snap To Produce Documents is based on this
23   Notice of Motion, Meta’s portion of the Joint Stipulation, the Declaration of Ana N.
24   Paul in Support of the Joint Stipulation and accompanying Exhibits A-AF, any
25   supplemental memorandum to be filed in connection with this Motion, and such
26   other additional information or argument as may be presented at or before the
27   hearing on the Motion.
28         This Motion is made following Zoom videoconferences between counsel
                                                                       META’S NOTICE OF
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 1   pursuant to Civil Local Rule 37-1, which took place on April 6, 2022 and June 17,
 2   2022, and written correspondence, which took place between March 22, 2022 and
 3   June 10, 2022. During that conference, the parties were unable to resolve the
 4   issues.
 5         A Proposed Order granting this Motion is being filed contemporaneously
 6   herewith.
 7
     Dated: August 2, 2022                     O’MELVENY & MYERS LLP
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 9                                             By:     /s/ Catalina Joos Vergara
                                                      Catalina Joos Vergara
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